
44 So. 3d 1266 (2010)
Jeffery L. HAWKINS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-4728.
District Court of Appeal of Florida, First District.
October 6, 2010.
Matt Shirk, Public Defender, Fourth Judicial Circuit, and James Armstrong, Assistant Public Defender, Jacksonville, for Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on June 11, 2010, in Duval County Circuit Court case number 16-2009-CF-010652-AXXX-MA, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal. The court notes that the office of the public defender has been appointed to represent petitioner in the appeal authorized by this opinion.
WOLF, ROBERTS, and WETHERELL, JJ., concur.
